Case 18-14948-JDW        Doc 47    Filed 08/29/19 Entered 08/29/19 13:12:55                Desc Main
                                   Document     Page 1 of 2


                   IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI

IN RE: JAMIE W. WREN                                                CHAPTER 13

DEBTOR                                                              CASE NO. 18-14948 JDW


          RESPONSE TO MOTION FOR RELIEF FROM STAY AND
    ABANDONMENT FROM THE ESTATE BY 21ST MORTGAGE CORPORATION

       COMES NOW, Jamie W. Wren, Debtor, by and through his attorney of record, and files this

his response to the Motion for Relief from Stay and Abandonment From the Estate by 21st Mortgage

Corporation filed herein and would respectfully state unto the Court as follows, to-wit:

       1.      The Debtor admits the allegations contained in Paragraph I.

       2.      The Debtor admits the allegations contained in Paragraph II.

       3.      The Debtor admits the allegations contained in Paragraph III, however Debtor has

               filed an Amended Plan to add arrearage and ongoing payment to be paid through

               their Plan.

       4.      The Debtor denies the allegations contained in Paragraph IV.

       5.      The Debtor denies the allegations contained in the Paragraph beginning

“WHEREFORE, PREMISES CONSIDERED”, and continuing to the end of the motion.

       WHEREFORE, PREMISES CONSIDERED, Debtor requests that this Honorable Court

will deny the Motion for Relief from Stay and Abandonment from the Estate and Other Relief filed

herein and for such other, further and general relief to which the Debtor may be entitled.

       Respectfully Submitted, this the 29th day of August, 2019.
Case 18-14948-JDW        Doc 47    Filed 08/29/19 Entered 08/29/19 13:12:55             Desc Main
                                   Document     Page 2 of 2


                                             s/ Karen B. Schneller
                                             KAREN B. SCHNELLER, MSB #6558
                                             SCHNELLER & LOMENICK, P.A.
                                             Post Office Box 417
                                             Holly Springs, MS 38635
                                             Phone: (662)252-3224/Fax: (662)252-2858
                                             karen.schneller@gmail.com

                                CERTIFICATE OF SERVICE

       I, Karen B. Schneller, attorney for Debtor(s), do hereby certify that I have this day

forwarded by electronic means or via United States Mail, postage prepaid, of the above and

foregoing Response to the following:

Robin E. Pate, Esq.
Attorney for 21st Mortgage
P.O. Box 2727
Tuscaloosa, AL 35403
rpate@rosenharwood.com

Locke D. Barkley
Chapter 13 Trustee
6360 I-55 North, Ste. 140
Jackson, MS 39211
sbeasley@barkley13.com

United States Trustee
501 E. Court St., Ste. 6-430
Jackson, Mississippi 39201
USTPRegion05.AB.ECF@usdoj.gov


Dated: August 29, 2019

                                             /s/ Karen B. Schneller
                                              KAREN B. SCHNELLER
